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Exhibit A
 

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Nevada Bar No. 002297

JAMIESON N. POE, ESQ.

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Altorneys for Defendant

Horizon Global Americas, Inc.

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEVADA

ELVIRA MELENDEZ, an Indtvidual, Case No.

Plaintiff, District Court Case No. A-18-784890-C

vs.

HORIZON GLOBAL AMERICAS, INC.; ROE | INDEX OF PLEADINGS FROM STATE
1 ~ Trailer Manufacturer; ROE 2 — Hitch COURT ACTION

Manufacturer; DOES II]-X, inclusive; and ROE
CORPORATIONS IV-X, inclusive,

Defendants.

 

 

 

 

The following is an index of all pleadings, process and any orders entered by the State Court
in Case No.: A-18-784890-C in the above matter: Elvira Melendez v. Maikel Torres Garcia, Jose
Ravelo Rodrigue, Rafael Construction, Inc., FCA US LLC, Horizon Global Americas, Inc., in the
Eighth Judicial District Court, Clark County, Nevada:
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No. Name of Document Date Filed
1, Plaintiff's State Court Complaint 11/21/18
2. Initial Appearance Fee Disclosure 11/21/18
3. Summons re: Rafael Construction Inc. 11/28/18
4. Additional Summons re: Maikel Torres Garcia 11/28/18
5. Additional Summons re: FCA US LLC, 11/28/18
6. | Affidavit of Service re: FCA US LLC. 12/04/18
7, Affidavit of Service re: Rafael Construction Inc. 12/04/18
8. Affidavit of Service re: Maikel Torres Garcia 12/05/18
9, Defendant Rafael Construction, Inc.’s Answer to Complaint i2/LE/18
10. Initial Appearance Fee Disclosure 12/11/18
Li. Demand for Jury Trial 12/11/18
12. Request for Exemption from Arbitration 12/14/18
13. Defendant Maikel Torres Garcia’s Answer to Complaint 12/20/18
14, Defendant Maikel Torres Garcia’s Demand for Jury Trial 12/20/18
15. Defendant Maikel Torres Garcia’s Initial Appearance Fee j 12/20/18

Disclosure

16. Commissioner’s Decision on Request for Exemption 1/02/19
17. Defendant FCA US LLC’s Answer to Plaintiff's Complaint 1/03/19
18. Defendant FCA US LLC’s Demand for Jury Trial 1/03/19
19. Defendant FCA US LLC's Initial Appearance Fee Disclosure 1/03/19

20. Defendant FCA US LLC’s Notice of NRCP 7.1 Disclosure 1/03/19

21. Notice of Early Case Conference HO3/19

22. Peremptory Challenge of Judge 1/03/19

23. Notice of Department Reassignment 1/04/19

24. | Peremptory Challenge of Judge 1/04/19

25. Notice of Amended Early Case Conference 1/07/19

26. Notice of Department Reassignment VWi7/9

 

 

 

 

 

 

 
 

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27, Defendant FCA US LLC’s Initial Rule 16.1 Disclosure | 2/01/19
Statement

28. Receipt of Copy of Defendant FCA US LLC’s Initial Rule | 2/05/19
16.1 Disclosure Statement

29. Joint Case Conference Report 3/01/19

30. Notice of Subpoena to Insurance Auto Auction 3/06/19

31. Order to Appear for Mandatory PreTrial Conference Pursuant | 3/07/19
to Rule 16

32, Plaintiffs Notice of Taking the Deposition of Defendant | 3/07/19
Maikel Torres Garcia

33. Notice of Deposition of Custodian of Records for Insurance | 3/13/19
Aute Action

34. Subpoena Duces Tecum to Custodian of Records of Insurance | 3/13/19
Auto Auction

35. Plaintiff's First Amended Notice of Taking the Deposition of | 3/15/19
Defendant Maikel Torres Garcia

36, Plaintiff's Second Amended Notice of Taking the Deposition | 3/19/19
of Defendant Maikel Torres Garcia

37, Notice of Subpoena to Las Vegas Metropolitan Police | 3/19/19
Department

38. Subpoena to Las Vegas Metropolitan Police Department 3/26/19

39, Defendant FCA US LLC’s Request for Telephonic | 3/28/19
Appearance by Representative, Carmen L. Dorris, at
Mandatory PreTrial Conference of April 12, 2019

A), Defendant Rafael Construction, Inc.’s Non-Opposition to | 3/29/19
Defendant FCA US LLC’s Request for Telephonic
Appearance by Representative Carmen L. Dorris at Mandatory
Pretrial Conference

41. Plaintiff's Request that she be Permitted to Not Attend the | 4/01/19
Mandatory Pretrial Conference of April 12, 2019

42. Stipulated Protective Order 4/04/19

43, Notice of Entry of Order Granting Stipulated Protective Order | 4/04/19

44. Defendant Rafael Construction, Inc.’s Request for Telephonic | 4/04/19
Appearance by Representative Brian Wilson at Mandatory
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45, Defendant FCA US LLC’s Notice of Subpoenas to Medical | 4/08/19
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46, Court Minutes re: Mandatory Rule 16 Conference 4/12/19

47. Defendant FCA US LLC’s Notice of Subpoena to Las Vegas | 4/16/19
Metropolitan Police Department

48. Defendant Maikel Torres Garcia’s Motion to Enforce | 4/18/19

 

Settlement Agreement

 

 

 

 

 

 
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49, Notice of Hearing 4/8/19
50. Scheduling Order 4/24/19
SI. Order Setting Civil Jury Trial 4/24/19
52. Defendant FCA US LLC’s Notice of Inspection of Subject | 4/26/19
Trailer Hitch and Bali

53. Plaintiff's Opposition to Defendant Maikel Torres Garcia’s | 5/02/19
Motion to Enforce Settlement Agreement

54. Court Minutes regarding Status Check — Stipulation Regarding | 5/09/19
Truck and Trailer

55. Defendant Maikel Torres Garcia’s Reply in Support of Motion | 5/16/19
to Enforce Settlement Agreement

56. Stipulation and Order Regarding the Preservation of Evidence =| 5/20/19

57. Defendant Rafael Construction, Inc.’s Motion for Summary | 5/20/19
Judgment

58. | Notice of Entry of Stipulation and Order Regarding the j| 5/20/19
Preservation of Evidence

59, Notice of Hearing 5/20/19

60, Stipulation and Order to Allow Plaintiff to Amend Complaint | 5/22/19
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61, Notice of Entry of Stipulation and Order 5/22/19

62. Amended Complaint S/23419

63. Summons-Jose Ravelo Rodrigue 5/24/19

64. | Summons —Draw-Tite Inc. 5/24/19

65. Affidavit of Service — Jose Ravelo Rodrigue 6/05/19

66, Affidavit of Service -- Draw-Tite, Inc. 6/05/19

67. Stipulation and Order to Dismiss Rafael Construction, Inc. | 6/05/19
Without Prejudice

68. Notice of Entry of Stipulation and Order to Dismiss Rafael | 6/06/19
Construction, Inc. Without Prejudice

69. Notice of Withdrawal of Defendant Rafael Construction, Inc.’s_ | 6/06/19
Motion for Summary Judgment

70. Defendant FCA US LLC’s Answer to Plaintiff's Amended | 6/06/19
Complaint

7h, Defendant Jose Ravelo Rodriguez’s Answer fo Amended | 6/12/19
Complaint

72. Initial Appearance Fee Disclosure 6/12/19

73 Court Minutes regarding Hearing on Motion to Enforce 6/20/19

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74, Defendant Maikel Torres Garcia’s Motion for Determination | 6/21/19
of Good Faith Settlement
75. Notice of Hearing 6/24/19
76. Defendant FCA US LLC’s Motion for Summary Judgment 6/28/19
77. Stipulation and Order to Modify Schedulmg Order 6/28/19
78. Defendant FCA US LLC’s Notice of Entry of Order Granting | 6/28/19
Stipulation and Order to Modify Scheduling Order
79. Notice of Motion HOWE
80. Notice of Hearing TOVA9
8l. Affidavit of Service — Draw-Tite, Inc. HO2iN9
82. Summons — Draw-Tite, Inc. WO2hy
33, Horizon Global Americas, Inc.’s (incorrectly named as Draw- | 7/26/19
Tite, Inc.) Initial Appearance Fee Disclosure (NRS Chapter
19)
84, Horizon Global Americas, Inc.’s (incorrectly named as Draw- | 7/26/19
Tite, Inc.) Motion to Dismiss Paragraph 3 of the Prayer for
Punitive Damages (Page 4, Line 2 of the Amended Complaint)
Pursuant to NRCP 12(b)G)
85. Horizon Global Americas, Inc.’s (incorrectly names as Draw- | 7/26/19
Tite, Inc.) Demand for Jury Trial
86. Notice of Hearing T9119
87, Defendant FCA US LLC’s Response to Defendant Horizon | 7/30/19
Global America, Inc.’s Request for Prior Pleadings and
Discovery
88. Plaintiff's Response to Request for Prior Pleadings and | 7/30/19
Discovery
89, Notice of Withdrawal of Defendant FCA US LLC’s Motion | 8/01/19
for Summary Judgment
90. Plaintiff's Opposition to Defendant Horizon Global Americas, | 8/09/19
Inc.’s (Incorrectly Named as Draw-Tite, Inc.) Motion to
Dismiss Paragraph 3 of the Prayer for Relief for Punitive
Damages (Page 4, Line 2 of the Amended Complaint) Pursuant
to NRCP 12(b)(5) ~ And Countermotion for Leave to Amend
the Complaint
91. Court Minutes regarding Motion for Good Faith Settlement 8/15/19
92, Defendant FCA US LLC’s Motion for Good Faith Settlement | 8/15/19
Determination and Order Barring Further Claims
93. Notice of Hearing 8/16/19
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94,

Order Granting Motion for Determination of Good Faith
Settlement

8/19/19

 

95,

Notice of Entry of Order Granting Motion for Determination
of Good Faith Settlement

8/19/19

 

96.

Horizon Global Americas, Inc.’s (Incorrectly named as Draw-
Tite, Inc.) Reply in Support of its Motion to Dismiss Paragraph
3 of the Prayer for Relief for Punitive Damages (Page 4, Line
2 of the Amended Complaint) Pursuant to NRCP 12(b6)(5) and
Opposition to Plaintiff's Countermotion for Leave to Amend
Complaint

8/19/19

 

97,

Stipulation and Order Dismissal of Defendant Maikel Torres
Garcia with Prejudice

WI2/N9

 

98.

Notice of Entry of Stipulation and Order for Dismissal of
Defendant Maikel Torres Garcia with Prejudice

W129

 

99.

Court Minutes regarding All Pending Motions

9/19/19

 

100.

Defendant Jose Ravelo Rodriguez’s Motion for Good Faith
Settlement

9/27/19

 

101.

Notice of Hearing

9BO/19

 

102.

Court Minutes regarding Defendant FCA US LLC’s Motion
for Good Faith Settlement Determination and Order Barring
Further Claims

LO/10/19

 

103.

Order Granting Defendant Horizon Global Americas Inc,’s
(incorrectly Named as Draw-Tite, Inc.) Motion to Dismiss
Paragraph 3 of the Prayer for Relief for Punitive Damages
(Page 4, Line 2 of the Amended Complaint) Pursuant to NRCP
12(b)(5)

LO/1O/19

 

104,

Notice of Entry of Order Granting Defendant Horizon Global
Americas Inc.’s (Incorrectly Named as Draw-Tite, Inc.)
Motion to Dismiss Paragraph 3 of the Prayer for Relief for
Punitive Damages (Page 4, Line 2 of the Amended Complaint)
Pursuant to NRCP 12(b)(5)

10/10/19

 

105.

Order Granting Defendant FCA US LLC’s Motion for Good
Faith Settlement Determination of Order Barring Further
Claims

LO/LI/19

 

106.

Stipulation and Order to Replace Draw-Tite, Inc. with Horizon
Global Americas, Inc.

10/14/19

 

107,

Notice of Entry of Stipulation and Order to Replace Draw Tite,
Inc. with Horizon Global Americas, Inc.

10/14/19

 

 

108.

 

Notice of Entry of Order Granting FCA US LLC’s Motion for
Determimation of Good Faith Settlement and Determination
and Order Barring Further Claims

 

10/16/19

 

 

 

 

 
 

 

 

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109. | Court Minutes regarding Defendant Jose Ravelo Rodriguez’s | 11/19/19
Motion for Good Faith Settlement

 

 

 

 

 

DATED this¢ Tp day of November, 2019.
STEPHENSON é& DICKINSON, P.C.

    
   

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Y ESSCOPT DICKINSON, ESQ.

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Attorneys for Sumitomo Rubber Industries, Lid. and

Sumitomo Rubber North America, inc,

By:

 
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Hse 2:19-cv-02015-JCM-VCF Document 1-1 Filed 11/20/19 Page 9 of 49

CERTIFICATE OF SERVICE
Pursuant to F.R.C.P. 5(b), I | by certify that | am an employee of STEPHENSON &
DICKINSON and that on this ZO day of November, 2019, I caused to be served a copy of the
foregoing: INDEX OF PLEADINGS FROM STATE COURT ACTION on the party(s) set forth

below by:

( 7 Electronic service

Placing an original or true copy in a sealed envelope placed for collection
and mailing in the United States Mail, at Las Vegas, Nevada, postage

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prepaid, following ordinary business practices
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addressed as follows:
Ai Lasso, Esq. G. Mark Albright, Esq.
Evan Kk. Simonsen, Esq. Jorge L. Alvarez, Esq.
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Attorneys for Plaintiff jaivarez@albrightstoddard.com

 

Attorneys for Defendant
Jose Ravelo Rodriguez

 
 

 

 

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Exhibit B
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“Las Vegas, Nevada 89145
_ 702-625-8777 » Fax: 702-835-6981

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Case 2:19-cv-02015-JCM-VCF Document 1-1 Filed 11/20/19 Page 11 of 49

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AL LASSO, ESQ. | Lee. Lh. sae

|| Nevada Bar No. 8152

EVAN K..SIMONSEN, ESQ.
|| Nevada Bar No. 13762 co
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al@lassoinjurylaw.com.
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Tel: 702.625.8777
Fax: 702.835.6981

Attorneys for Plaintiff

 

/ DISTRICT COURT
CLARK COUNTY, NEVADA
We A MET. nas _ _ A-18-784890-C
ELVIRA MELENDEZ, an Individual, | CASENO.: nk
_ | DEPT NO.:
Plaintiff, ; Department 16

, |
MAIKEL TORRES GARCIA, an Individual: | COMPL AINT

-RAFAEL CONSTRUCTION, INC.,‘a Domestic

. Corporation; FCA US LLC, a Foreign Limited-
Liability Company; ROE 1 —~ Trailer Manufacturer;
ROE 2 — Hitch Manufacturer; DOES I-X, inclusive,
and ROE CORPORATIONS II-X, inclusive,

 

Defendants.

 

Comes Now, Plaintiff ELVIRA MELENDEZ, by and through her counsel of record, AL
4, LASSO, ESQ. and EVAN K. SIMONSEN, ESQ. of LASSO INJURY LAW, .LLC., and for the
| Plaintife s claims for relief against the Defendants, alleges and complains against Defendants as

follow: | | 7 |

| | JURISDICTION
1, All the events alleged in this Complaint took place in Clark County, Nevada.
2. Plaintiff, ELVIRA MELENDEZ, is, and at.all times mentioned in this Complaint was, a resident
of Clark County, Nevada,
3. Defendant, MAIKEL TORRES GARCIA, eg at all times mentioned in this Complaint was, a

resident of Clark County, Nevada.

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Case Number: A-18-784890-C
 

 

 

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1d 4, Defendant, RAFAEL CONSTRUCTION, INC. was, and at all times mentioned i in this. Complaint
2 are, a domestic corporation doing business in Clark County, Nevada.
3 5. Defendant, FCA US LLC, a foreign limited- liability company (hereinafter “FCA” or “DODGE”),
4 was, and continues to be, a Delaware Corporation duly authorized and conducting business in the
5 County of Clark, State of Nevada. Defendant designed, manufactured, marketed, promoted,
6 . distributed and sold the vehicle that i is the subject of this lawsuit. Defendant did these acts within
7 | the State of Nevada and/or directed them toward consumers in the State of Nevada. |
8 1 6. The true names and capacities of the Defendants DOE I through X and the Defendants ROE I
9 through X are unknown to Plaintiff at this time. Therefore, Plaintiff sues these Defendants by such
10 fictitious names and when their true names and capacities are ascertained, Plaintiff will amend this
@ 8 1 ‘Complaint accordingly. Plaintiff believes each of these Defendants designated as 4 DOE or ROE
: e 2 26 12 is responsible j in some manner for the i injuries and damages suffered by Plaintiff. .
3 #3 13. SPECIFIC ALLEGATIONS =
5 a $ é {4 | 7. At all times material to this Complaint, the acts and omissions giving rise to this action occurred
o - as Ip in Clark County, Nevada.
| a : ag 10 | 8. Onorabout March 18, 2018, Plaintiff ELVIRA MELENDEZ, was a driver ina 1997 Honda Civic
| ie ely] traveling westbound i in the #1 travel lane on Lake Mead Boulevard, near the intersection with
is ‘Saylor Way i in Las. Vegas, Nevada, . .
19 | 9g, Defendant MAIKEL TORRES GARCIA was operating a 2012°Ram Pickup 1500 truck, towing al
20 12-foot open trailer, manufactured. by ROE 1, connected by a hitch, ‘manufactured by ROE 2, 7
21. 10, Defendant MAIKEL TORRES GARCIA was traveling eastbound in the #1 travel lane on Lake
22 - Mead Boulevard, neat the intersection with Saylor Way when his trailer became loose and
23° ‘unbalanced causing his trailer, Joaded with lumber, to fishtail between the #1 travel lane and the
24 center turn lane as he erratically proceeded eastbound on Lake Mead Boulevard.
25 Hi 11, Defendant MAIKEL TORRES. GARCIA’s loose trailer fish-tailed more-and-more, ‘eventually
26 resulting i in the left side of the trailer crashing into the front left of Plaintiff's vehicle as she traveled
27 westbound on Lake Mead Boulevard, |

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~ Las Vegas, Nevada 89145
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I After the crash, Defendant MAIKEL TORRES GARCIA’s truck spun out of control, with his
detached trailer coming to a rest facing northeast j in the center turn lane while his truck came to a
rest facing southwest in the eastbound travel lane of Lake Mead Boulevard.

13. The impact caused Plaintiff ELVIRA MELENDEZ’s 1997 Honda Civic to spin ina northeast

| direction finally coming to a full rest facing southwest on Lake Mead Boulevard.

14. Due to the high velocity impact, causing significant property damage to Plaintiffs vehicle,
Plaintiff ELVIRA MELENDEZ suffered incapacitating injuries to her body at the scene of the
collision and had to be extracted from her 1997 Honda Civic by mechanical means.

15; Following the crash, an onsaite investigation was performed by Officer Fernandez, ID#13997 of
‘the Las Vegas Metropolitan Police Department; Defendant MAIKEL TORRES GARCIA was |
cited for failure to maititain his vehicle within a single lane. :

16. Upon information and belief, on or about March 18, 2018, Defendant MAIKEL TORRES
GARCIA was an agent and/or eniployee of Defendant RAFAEL CONSTRUCTION, INC. acting

| within the course. and scope. of his employment, thereby making Defendant RAFAEL

- CONSTRUCTION, INC, vicariously and legally tesponsible for the negligent: conduct off

| ‘Defendant MAIKEL TORRES GARCIA as alleged i in this Complaint. .

17. At all times mentioned, Defendant FCA US LLC (hereinafter “FCA”), did business in the State of
Nevada, and were the designers, manufactures, distributor and sellers of the 2012 Ram Pickup
1500 truck, including component parts, vehicle identification number LC6RD6FP7CS30281 1,
hereinafter referred to as the “subject vehicle”. | | | -

18. As a direct and proximate result of the defects in the subject vehicle and the negligence of the

- Defendants, Plaintitt suffred incapacitating i injuries, including bodily injury, pain, and suffering.

FIRST CAUSE QF ACTION — _ NEGLIGENCE
, (DEFENDANTS MAIKEL TORRES GARCIA AND RAFAEL CONSTRUCTION)

19, Plaintiff re-allege paragraphs i through 18 as though fully set forth herein, .

20, Defendant MAIKEL TORRES GARCIA owed Plaintiff a duty to use due care in maneuvering his

| vehicle, a duty to. drive i ina reasonably safe manner, and a duty to maintain his vehicle and attached

trailer i in his travel lane.
Page 3 of 10

 

 
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Lf 21. Because Defendant MAIKEL TORRES GARCIA did not use due care in maneuvering his vehicle,
2 failed to drive ina reasonably safe manner, and failed to maintain his trailer and vehicle within his
3 travel lane, Defendant MAIKEL TORRES GARCIA breached that duty.
+ 22. As a proximate result of that breach, Plaintiff suffered damages which include, but are not limited
5 to medical specials, pain and suffering, and bodily injuries. .
| 6 4 23, Employers, masters, and principals are vicariously liable for. the torts committed by their
7 employees, servants, and agents if the tort occurs while the employee, servant or agent was acting
: 8 in the course and scope ‘of employment. | a
9 24, Accordingly, pursuant to N.RS. 41.130, RAFAEL CONSTRUCTION, INC. is vicariously liable
10 for the damages caused by its employees’ actions and negligence, further encompassing the actions.
ge # i t of those hired by RAFAEL CONSTRUCTION, INC. N.RS. 41.130 states as follows:
5 3 w $ ry Except as. otherwise provided in NRS 4l 745, whenever any person shall suffer
wa Be 13 ‘personal injury by wrongful act, neglect or default of another, the person causing the
Bs £4 s injury is liable to the person injured for damages; and where the person causing the
PB a 5 & 14 - - injury is employee by another Pther ot corporation résponsible for the conduct or the
z 3 4 © Is | the person injun Stade, ges olner person or. corporation so responsible is liable to
Q#en ” .
- a « r 4 16° 25. Defendant was the employer, master, and principle of ‘the remaining Defendants and other
. a s - 3 i7. employees, agents, independent contractors and/or representatives who negligently failed to
| ig we inspect, maintain n and warn of dangerous conditions i in and about the common walkways on the
19 property.
20 26, Asa proximate result of that breach, Plaintiff has suffered damages, which include but are not
Oy limited to bodily i injury, past and future medical specials, past and future pain and suffering, and.
22 “mental anguish. ° —_
23. | SECOND CAUSE OF ACTION — NEGLIGENCE PERSE
"94 "(DEFENDANT MAIKEL TORRES GARCIA)
ve as [2 27. Plaintft re-alleges paragraphs 1 through 26 as though fully set forth herein,
| 26 || 28. Nevada Revised Statutes Chapter 484 provides. Rules of the Road which require drivers to obey
27 the rules of the road. —
/ 2g | 29. These statutes are intended to protect classes of persons like Plaintiff.
Page 4 of 10

 

 

 
LASSO INJURY LAW

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30. These statutes are intended to, among other things, prevent injuries similar to the i injuries suffered
by Plaintiff. |

31. Because Defendant MAIKEL TORRES GARCIA did not use due care in maneuvering his vehicle,
failed to drive i ina reasonably safe manner, and failed to maintain his travel lane, Defendant
MAIKEL TORRES GARCIA was negligent per se.

32. As a result of Defendant MAIKEL TORRES GARCIA negligence per se, Plaintiff suffered}

damages as described in paragraph 26, |
THIRD CAUSE OF ACTION — NEGLIGENT HIRING, TRAINING SUPERVISION AND
| RETENTION |
_ WEFENDANT RAFAEL CONSTRUCTION, INC.)

   

33, Plaintiff re:alleges paragraphs 1 through 32 as though fully set forth herein,

34. Defendant RAFAEL CONSTRUCTION, INC. owed a duty of due and reasonable care to
. adequately investigate, hite, Supervise, retain and/or train its employees, agents, managers,
officers, directors, independent contractors and/or servants; including, but not Hmited to Defendant

. MAIKEL TORRES GARCIA. |

35. Plaintiff is informed and believes and therefore alleges that Defendant RAFAEL
CONS TRUCTION, INC. breached their duty by failing to adequately investigate, hire, supervise,
retain and/or train its employees, agents, managers, officers, directors, independent contractors.
and/or servants, including, but not limited to Defendant MAIKEL TORRES GARCIA.

36. As a result of said Defendant RAFAEL CONSTRUCTION, INC.*s failure to adequately

| ‘investigate, hire, supervise, retain and/or train its employees, agents, managers, officers, directors,
independent contractors and/or servants, including, but not limited to Defendant MAIKEL
TORRES GARCIA, Defendant MAIKEL TORRES GARCIA was placed in a position unsuitable
and/or inadequately trained individuals should not have held,

37. As a direct and proximate result of Defendant RAFAEL CONSTRUCTION, INC.’s negligence as
alleged herein, Plaintiffs have suffered and continue to suffer injuries entitling them to monetary
damages i in an amount in excess of Fifteen Thousand Dollars ($15,000.00), as to be proved

specifically at the time of trial. .
. Page 5 of 10

 
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_EQURTH CAUSE OF ACTION-STRICT PRODUCTS LIABILITY
FCA US LLC)
38. Plaintiff re-alleges paragraphs | thr ough 37 as though fully set forth herein,
39. The subject vehicle was designed, tested, manufactured, inspected, constructed, and maintained:
| by Defendant FCA US LLC and was defective, in that it ‘was designed, tested, manufactured,
inspected, constructed, and maintained with characteristics that rendered it unsafe,

40. The subj ect vehicle, A 2012 Ram 1500 Pickup Truck, and its component parts that were c designed
tested, ‘manufactured, inspected, constructed, maintained, marketed, sold and distributed by.
Defendant FCA US LLC were unreasonably dangerous and defective, in that they were designed,
tested, - manufactured, inspected, constructed, maintained, marketed, and distributed withl
characteristics that rendered them unsafe for the use for which they were intended in light of their
nature and intended function ¢ or for reasonably foreseeable uses. .

41 The subject vehicie and its component parts, failed to. perform as expected and + were mote
dangerous than expected by an ordinary consumer, |

42. The defects existed in the subject vehicle and its component parts at the time they left the control
of Defendant FCA US LLC and continued in the defective condition until the subject incident.
Defendant FCA US LLC designed, tested, manufactured, inspected, constructed, maintained,

- distributed, and sold the subject vehicle and further failed to warn of the defective condition of the
subject vehicle and its component parts. .

43, Defendant FCA US LLC are strictly liable for the unreasonably dangerous and defective condition
of the subject vehicle.

44, Defendant FCA US LLC breached their express and implied warranties with respect to the subject

vehicle and its component parts, | —

‘ 45, Upon information and belief, at the time of the aforesaid collision, the subject vehicle and its

component parts were in the same condition as when they left the control of Defendant FCA US

LLC who manufactured them and were being used without any substantial change or alteration in

their condition.

Page 6 of 10

 
 

 

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Upon information and belief, the subject 2012 Ram Pickup 1500 Truck was defective causing the
attached trailer to detach from the 2012 Ram Pickup 1500 Truck, |

‘On March 18, 2018, Defendant MAIKEL TORRES GARCIA operated the Subject 2012 Ram

Pickup 1500 Truck. While towing a trailer, the trailer became loose and detached causing a severe
collision resulting in Plaintiff's injuries.

As a direct and proximate result of Defendants’ defective product, negligence, conduct, breach,
Plaintiff suffered and continues to suffer injuries entitling her to monetary damages in an amount
in excess of Fifteen Thousand Dollars ($15,000. 0), as to be proved specifically at the time of
trial. a -

_ FIRTH CAUSE OF ACTION-STRICT PRODUCTS ABILITY
| - (ROE 1- TRAILER MANUFACTURER)

Plaintiff re-alleges paragraphs | through 48 as though fully set forth herein.

. The subject trailer was designed, tested, manufactured, inspected, constructed, and maintained by’

Defendant ROE 1-Trailer Manufacturer and was defective, in that it was designed, tested,

The subject waie and i its component parts that were designed, tested, manufactured, inspected,

constructed, maintained, marketed, sold and distributed by Defendant ROE [Trailer

Manufacturer were unreasonably dangerous and defective, in that they were designed, tested,

manufactured, inspected, constructed, maintained, marketed, and distributed with characteristics

_ that rendered the trailer unsafe for the use for which it was intended in light of their nature and

_ intended function or for reasonably foreseeable uses.

52,

33,

The subject trailer and its component parts failed to perform as expected and were more dangerous
than expected by an ordinary consumer.

The defects existed i in the subject trailer and its component parts at the time they left the control

| of Defendant ROE {Trailer Manufacturer and. continued i in. the defective condition until the

subject. incident, Defendant ROE 1~Trailer Manufacturer designed, tested, “manufactured,
inspected, constructed, maintained, distributed, and sold the subject trailer and further failed to

warn of the defective condition of the subject trailer and its component parts.

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34,

55,

Defendant ROE 1-Trailer Manufacturer is strictly liable for the unreasonably dangerous and

defective condition of the subject trailer.

Defendant ROE 1-Trailer Manufacturer breached its express and implied warranties with respect

to the subj ect trailer and its component parts.

36,

Upon information and belief, at the time of the aforesaid collision; ‘the Subject trailer and its

| ‘component parts were in the same condition as when they left the control of Defendant ROE I

37.

58.

59.
60.

61.

Trailer Manufacturer who manufactured them and were being used without any substantial change
or alteration i in their condition.
On March 18, 201 8, Defendant MAIKEL TORRES GARCIA operated the Subject 2012 Ram

Pickup 1500 Truck. While towing the Subject Trailer, the trailer became loose and detached

causing a severe collision resulting in Plaintiff's injuries.

As a direct and proximate result of Defendant ROE 1—Trailer Manufacturer’s defective product,

negligence, conduct, breach, Plaintiff suffered and continues to. suffer injuries entitling her to
monetary damages in an amount in excess of Fifteen Thousand Dollars ($15,000.00), as to be

proved specifically at the time of trial.

SIXTH CAUSE QF ACTION-STRICT PRODUCTS LIABILITY
. (ROE 2- HITCH MANUFACTURER)
Plaintiff re-alleges paragraphs \ through 58 as though fully set forth herein.
The subject hitch was designed, tested, manufactured, inspected, constructed, and maintained by

Defendant ROE 2-Hitch Manufacturer and was defective, in that it was designed, tested,

manufactured, inspected, constructed, and maintained with characteristics that rendered it unsafe.

The subject hitch and its component parts that were designed, tested, manufactured, inspected,

- constructed, maintained, marketed, sold and distributed by Defendants “were unreasonably

dangerous and defective, i in that they were designed, tested, manufactured, inspected, constructed,

maintained, marketed, and distributed with characteristics that rendered them unsafe for the use;

for which they were intended in light of their nature and intended function or for reasonably

. foreseeable uses. —

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62. The subject hitch and its component parts | failed to perform as expected and were more dangerous
than expected by an ordinary consumer, — poo | |
63. The defects existed i in the subject hitch and na component parts at the time they left the control of]
Defendant ROE 2-Hitch Manufactur er and continued i in the defective condition until the subject
incident. Defendant ROE 2-Hitch Manufacturer designed, tested, manufactured, inspected,
constructed, maintained, distributed, and sold the subject hitch and farther failed. to warn of the
oe defective condition of the suibject vehicle and its component parts, |
64. Defendant ROE 2-Hitch Manufacturer is strictly liable for the unreasonably dangerous and
defective condition of the subject hitch, |
65, Defendant ROE 2—Hitch Manufacturer breached its express and implied warranties with respect
to the subject hitch and its component parts.
66, Upon information and belief, at the time of the aforesaid collision, the subject hitch and its
| component parts were in the same condition as when they left the control of Defendant ROE 2~
Hitch Manufacturer who manufactured them and were being used without any substantial change
or alteration i in their condition. | |
67, On March 18, 2018, Defendant MAIKEL ‘TORRES GARCIA operated the subject 202 Ram
Pickup {500 Truck while towing a trailer, the trailer became loose and detached causing a severe
collision resulting in Plaintiff s injuries.
68. As'a direct and proximate result of Defendants’ defective product, negligence, conduct, breach,
‘Plaintiff suffered and continues to suffer inj uries entitling her to monetary damages in an amount
in excess of Fifteen Thousand Dollars ($15, 000. 00), as to be proved specifically at the time off
trial,
SEVENTH. CAUSE OF ACTION-NEGLIGENT FAILURE TO INSPECT AND WARN
7 | (ROE 1, ROE 2, FCA):
69. Plaintiff re-alleges paragraphs i through 68 as. though fully. set forth herein,
70. Defendants ROE 1, ROE 2, and FCA inspected the aforementioned 2012 Ram Pickup 1500 Truck,
Trailer, and Hitch before March £8, 2018 and knew or should have known that the vehicle was

defective in design and/or manufacture and failed to warn Plaintiff of the dangerous condition.

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71. That the failure to inspect and warn was a proximate cause of the injuries and damages hereto
alleged as was further a willful and conscious disregard of known unsafety, thereby entitle Plaintiff
to an award of general and punitive damages i in an amount in excess of Fifteen Thousand Dollars

($19, 000, 00).

a WHEREFORE, Plaintiff, expressly reserving the right to amend this Complaint, prays for
judgment against Defendants a as follows:

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Punitive damages in excess of $15,000;

Interest at the statutory rate; and

“CONCLUSION

> Plaintiff has been required to retain the ; services of an attorney to > prosecute this action.

General damages i in excess of $ 15,000;

Special damages i in excess of $1 5,000;
Attorney’s fees and costs;

For such other and further relief as the Court deems just and proper.
DATED this of tas “day of November, 2018.
LASSO INJURY LAW, LLC

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_Al Lasso; Esa.
Nevada Bar No, 8152
' Evan Kk. Simonsen, Esq.
‘Nevada Bar No. 13762
10161 Park Run Drive
‘Las Vegas, NV 89145 —
_ Attorneys for Plaintiff. .

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Exhibit C
 

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Fax: 702.835.6981 7 _
Attorneys for Plaintiff 7 .
| DISTRICT COURT
| CLARK COUNTY, NEVADA

3. Defendant, MAIKEL TORRES GARCIA, is, and at all times. mentioned i in this Complaint was, a

 

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Nevada Bar No. 13762 ”
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10161 Park Run Drive, Ste. 150

 

ELVIRA MELENDEZ, an Individual, | CASE NO.: A-18- 784890-c a
Plaintiff |DEPTNO.: 24

V.

'. MAIKEL TORRES GARCIA, an Individual; JOSE . ee
RAVELO RODRIGUE, an Individual; RAFAEL | AMENDED COMPLAINT
CONSTRUCTION, INC., a Domestic Corporation; me
FCA US LLC, a Foreign Limited-Liability
Company; DRAW-TITE, INC,, a Foreign Profit

. Corporation; ROE 1 - Trailer Manufacturer: ROE

_ 2- Hitch Manufacturer; DOES II-X, inclusive, and

- ROE CORPORATIONS IV-X, inclusive,

* a Defendants.
Comes Now, Plaintiff ELVIRA MELENDEZ, by and through her counsel of record, AL
LASSO, ESQ. and EVAN K. SIMONSEN, ESQ. of LASSO INJURY LAW, LLC., and for the

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Plaintiff's claims for relief against the Defendants, alleges and complains against Defendants as
follow: :
} “JURISDICTION

1, Alithe events alleged in this Complaint took place in Clark County, Nevada.
2. Plaintiff, ELVIRA MELENDEZ, is, and at all times mentioned in this Complaint was, a resident

_ of Clark County, Nevada.

resident of Clark County, Nevada.

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County of Clark, State of Nevada. Defendant designed, manufactured, marketed, promoted,

“ascertained, Plaintiff will amend this Complaint accordingly. Plaintiff Believes’ each of these

damages ‘suffered by Plaintiff.

10.

. ‘traveling westbound in the #1 travel lane on Lake Mead Boulevard, near the intersection with

“were, a domestic corporation doing-business i in Clark County, Nevada.

‘Defendant, ‘FCA US LLC, a foreign limited-Hability company (hereinafter “FB Ca” or “*DODGE”),

and conducting. business in the County of Clark, State of Nevada, Defendant designed,
manufactured, marketed, promoted, distributed and sold the trailer ball mount; trailer ball, and/or
hitch pin that is/are at issue in this lawsuit, Defendant did these acts within the State of Nevada
and/or: directed, them towards consumers in the State of Nevada.
The true names and capacities of the Defendants DOE II through X and the Defendants ROE
7 CORPORATIONS 1, i andIV through Xare unknown to Plaintiff at this time. Therefore, Plaintiff

sues these Defendants by such fictitious names and when their true names and capacities are
“Defendants designated as a DOE or ROE is responsible in some manner_for the injuries and

At all times material to this Complaint, the acis and omissions giving rise to this action occurred

im Clark County, Nevada,

Saylor Way i in Las Vegas, Nevada.
LL.
- 12-foot open trailer, manufactured by ROE 1, connected by 4 hitch, manufactured by ROE 2.

Upon information and belief, Defendant JOSE RAVELO. RODRIGUE, is, and at all times
mentioned i in this Complaint was, a resident of Clark County, Nevada.

Defendant, RAFAEL CONSTURCTION, INC. was, and at all times mentioned in this Complaint

was, and coiitinues to be, a Delaware Corporation duly authorized and conducting business in the

distributed and sold the vehicle ‘that is the subject of this lawsuit, Defendant did these acts within
the State of Nevada and/or directed them toward consumers in the State of Nevada.

Defendant. DRAW-TITE, INC, was, and continues to be a Michigan Corporation duly authorized

ene

SPECIFIC ALLEGATIONS

Onor about March 18, 2018, Plaintife ELVIRA MELENDEZ, was a driver i jna1997 Honda Civic

Defendant MAIKEL TORRES GARCIA was operating a 2012 Ram Pickup 1500 truck, towing ai

- Page 2 of 14

 
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12. The subject 12-foot open trailer was connected to a trailer ball and mount, manufactured by
. "Defendant DRAW-THIE, INC.

13. The 12-foot open trailer is, and at all times relevant hereto was, owned by Defendant JOSE
RAVELORODRIGUE.  - : -

14, ‘Upon information ‘and belief, on or about March 18, 2018, Defendant JOSE RAVELO
_RODRIGUE permitted Defendant MAIKEL TORRES GARCIA to use the subject 12-foot open
trailer to transport lumber.

15. Upon information and belief, Defendant JOSE RAVELO RODRIGUE permitted Defendant
MAIKEL TORRES GARCIA to use the subject 12-foot open trailer on numerous occasions before
and after March 18, 2018.

16. Upon information and belief, Defendant J OSE RAVELO RODRIGUE had knowledge of the
trailét hitch, trailer ball mount, trailer ball, and hitch pin that Defendant MAIKEL TORRES
GARCIA used when towing the subject 12-foot open trailer. .

17. Upon information. and belief, Defendant JOSE RAVELO RODRIGUE was present when
Defendant MAIKEL TORRES GARCIA attached the subject 12-foot open trailer to the subject |
2012 Dodge Ram 1500 Pickup truck.

18. Upon information and belief, Defendant JOSE RAVELO RODRIGUE attached and/or assisted in|

-- attaching the subject 12-foot open trailer to the subject 2012 Dodge Ram 1500 Pickup truck.
19. Defendant MAIKEL TORRES GARCIA was traveling eastbound in the’#1 travel lane on Lake
. Mead Boulevard, ‘near the intersection with Saylor Way when his trailer became loose and
. unibalanced causing his trailer, loaded with lumber, to fishtail between ‘the #1 travel lane and the
center tum lane as he erratically proceeded eastbound on Lake Mead Boulevard,
20. Defendant, MAIKEL TORRES GARCIA’s loose trailer fish-tailed more-and-more, eventually
| resulting i in the left side of his trailer crashing into the front left of Plaintif? s vehicle as she traveled
westbound on Lake Mead Boulevard.
21. After the crash, Defendant MAIKEL TORRES GARCIA’s truck spun out of control, with his
. detached trailer coming to a rest facing northeast in the center turn lane while his truck came to al

. Test facing southwest in the eastbound travel larie of Lake Mead Boulevard.
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22. The impact caused Plaintiff ELVIRA MELENDEZ’s 1997 Honda Civic to spin in a northeast]
| direction finally coniing to a rest facing southwest on Lake Mead Boulevard. |

23. Due tothe high velocity Impact, causing significant property damage to Plaintiff's vehicle,
Plaintiff ELVIRA MELENDEZ suffered incapacitating injuries to her body at the scene of the
collision and had to be extracted from her 1997 Honda Civic by mechanical means,

24. Following the crash, an on-site investigation was performed by Officer Fernandez, IDH13997 of
- the Las Vegas Metropolitan Police Department; Defendant MAIKEL. TORRES GARCIA was
_ cited: for failure to maintain vehicle within a single lane.

25. Upon information and belief, on or about March 18, 2018, Defendant MAIKBL TORRES
GARCIA was an agent and/or employee of Defendant RAFAEL CONSTURCTION, INC. acting

. _ within the course and scope of his employment, thereby making Defendant RAFAEL

7 : CONSTURCTION, INC. ‘yicariousty and legally responsible: for the negligent conduct off
Defendant MAIKEL TORRES GARCIA as alleged in this Complaint. —

26, At all times mentioned, Defendant FCA US LLC (hereinafter “FCA”), did business in the State of
Nevada, and were the designers, manufactures, -distributor and sellers of a certain 2012 Ram
Pickup 1 500 truck, including ‘component — parts, vehicle identification number
1CORDEFP7CS302811, hereinafter referred to as ‘the “subject vehicle”. | _

27. As a direct and proximate result of the defects im the subject vehicle and the negligence of the

| ~ Defendants, Plaintiff suffered incapacitating injuries, including bodily injury, pain, and suffering.

FIRST CAUSE OF ACTION — NEGLIGENCE
DEFENDANTS MAIKEL TORRES GARCIA, JOSE RAVELO RODRIGUE,
. and RAFAEL CONSTRUCTION, INC. )

28. Plaintiff re-allege paragraphs 1 through 27 as though fully set forth herein.

29, Defendant JOSE RAVELO RODRIGUE owed a duty to Plaintiff to use due care in attaching
and/or assisting in attaching the subject 12-foot open trailer to the subject vehicle so as to ensure ,
that the Defendant MAIKEL TORRES GARCIA would be able to maintain coiitrol of the subject

12-foot open trailer while towing it in an appropriate and reasonably safe manner.

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30.

 

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37.

Defendant JOSE RAVELO RODRIGUE owed a duty to Plaintiff not to attach and/or assist in}

attaching the subject 12-foot open trailer to a trailer ball and/or trailer ball mount that is and/or

were inadequate for towing the subject 12-foot trailer. .

Because Defendant JOSE RAVELO RODRIGUE did not use due care in attaching the subject 12-
foot open trailer to the hitch on Defendant MAIKEL TORRES: GARCIA’s 2012 Dodge Ram 1500
Pickup truck, Defendant JOSE RAVELO RODRIGUE breached that duty.

Asa proximate result of that breach, Plaintiff suffered damages which include, but are not limited

_, to medical specials, pain and suffering, and bodily i injuries. . -
33,

Defendant MAIKEL TORRES GARCIA owed Plaintiff a duty to use due care in maneuvering | his

: vehicle, a duty to drive i ina reasonably safe manner, and.a duty to maintain his vehicle and attached

trailer in his travel lane. _

Becatige-Defendant MAIKEL TORRES GARCIA did not use due care in maneuvering his vehicle,

failed to drive ina reasonably safe manner, and failed to maintain his trailer and vehicle within his

travel lane, Defendant MAIKEL TORRES GARCIA breached that duty.
35.

Employers, masters, and principals are vicariously liable for the torts committed by their
employees, servants, and agents if the tort accurs while the employee, servant or agent was acting
in the course and scope of employment. .

Accordingly, pursuant to N.R. 8. 41, 130, RAPAEL CONSTURCTION, INC. is vicariously liable
for the damages caused by its employees’ actions and negligence, further encompassing the actions

of those hired by. RAFAEL CONSTURCTION, INC, N.R.S, 41,130 states as follows:

Except as otherwise provided in NRS 41.745, whenever any person shall suffer
personal i injury by wrongful act, neglect or default of another, the person causing the

. injury is liable to the person injured for damages; and where the person causing the
injury is employed by another person or corporation responsible for the conduct of the
person causing the injury, that other person or corporation so responsible is liable to
the. person injured for damages.

Defendant was ‘the employer, master, and. principle of the remaining Defendants and other

2 employees, agents; independent contractors and/or representatives who negligently failed to

| inspect, maintain and warn of dangerous conditions in and about the common walkways on the

property, —

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38. Asa proximate result of that breach, Plaintiff has suffered damages, which include but are not
limited to bodily i injury, past and future medical specials, past and future pain and suffering, and
mental anguish.

_ SECOND CAUSE OF ACTION — NEGLIGENCE PERSE |
° (DEFENDANT MAIKEL TORRES GARCIA)

39. Plaintiff re-alleges paragraphs 1 through 38 as though fully set forth herein.

40 0-Nevada Revised Statutes Chapter 484 provides Rules of the Road which require drivers to obey

_ ~ the rules of the road. _—

4l, These statutes are intended to protect classes of persons like Plaintiff.

42. T hese statutes are intended to, among other things, prevent injuries similar to the injuries suffered

“by Plaintiff.

43. Because Defendant MAIKEL TORRES GARCIA did not use due care in maneuvering his vehicle,

- failed to drive i ina reasonably safe manner, and failed to maintain his travel lane, Defendant
MAIKEL. TORRES GARCIA was negligent per se. |

44. As a result of Defendant MAIKEL TORRES GARCIA negligence per se, Plaintiff subferpd
"damages as described i in paragraph 26, ~~

. THIRD CAUSE OF ACTION — - NEGLIGENT HIRING TRAINING SUPERVISION, AND

a RETENTION AGAINST DEFENDANT RAFAEL CONSTURCTION. INC,
(DEFENDAN T RAFAEL CONSTRUCTION, INC.)

45. Plaintiff re-alleges paragraphs 1 through 44 as though fully set forth herein. .

 

 

|| 46. Defendant RAFAEL CONSTURCTION, INC, _owed, a duty of due and reasonable care to

adequately investigate, hire, supervise, retain and/or train its employees, agents, managers,

officers, directors, independent contractors and/or seryants, including, but not limited to Defendant
- MAIKEL TORRES GARCIA.

47. Plaintiff is informed and believes and therefore alleges that Defendant RAFAEL
CONSTURCTION, INC, breached their duty by failing to adequately investigate, hire, supervise,
retain and/or train its employees, agents, managers, officers, directors, independent contractors

and/or servants, including, but not limited to Defendant MAIKEL TORRES GARCIA. |
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48. As a result of said Defendant RAFAEL CONSTURCTION, INC.’s. failure to adequately
investigate, hire, supervise, retain and/or train its employees, agents, managers, officers, directors,
independent contractors and/or servants, including, but not limited to Defendant MAIKEL
TORRES GARCIA, Defendant MAIKEL TORRES GARCIA was placed in a position unsuitable
and/or inadequately trained individuals should not have held.

4 49. As a direct and proximate result of Defendant RAFAEL CONSTURCTION, INC’s negligence as
| alleged herein, Plaintiff has suffered and continue to suffer injuries entitling them to'thonetary

damages’ i in an amount in excess of Fifteen ‘Thousand Dollars ($15, 000. .00), as to be proved
specifically at the time of trial. 7
FOURTH CAUSE OF ACTION — NEGLIGENT. ENTRUSTMENT
" (DEFENDANT JOSE RAVELO RODRIGUE)
50. Plaintiff. re-alleges paragraphs 1 through 49. as though fully set forth herein. -
“Sl. Defendant JOSE RAVELO RODRIGUE owed a duty of cate to the Plaintiff not to entrust the
| subject 12-foot trailer to someone who would not use ‘reasonable care when towing the subject
| vehicle. | :

52. Defendant JOSE RAVELO RODRIGUE inew, or should have known, that Defendant MAIKREL

- ~ TORRES GARCIA would not use reasonable care when towing the subject 12-foot open trailer.

53. Defendant JOSE RAVELO RODRIGUE nevertheless entrusted the subject 12-foot open trailer to
‘Defendant MAIKEL TORRES GARCIA, thereby breaching his duty to Plaintife

54. Defendant JOSE RAVELO RODRIGUE owed a duty of care to the Plaintiff not to entrust the
subject 12-foot open trailer to someone whose vehicle, trailer hitch, trailer ball, and/or trailer ball
_ mount were defective and/or inadequate for towing the subject 12-foot open trailer.

55. Upon information and belief, Defendant MAIKEL TORRES GARCIA’s 2012 Ram 1500 Pickup
truck, trailer hitch, trailer ball and/or trailer mount were defective. .

. 36. Upon information and belief, Defendant MAIKEL T' ORRES GARCIA’s 2012 Ram 1500 Pickup

‘track, trailer hitch, trailer ball and/or trailer mount were inadequate for towing the subject 12-foot

‘open irailer and/or were inadequate for towing the quantity and/or weight of lumber that Defendant

MAIKEL TORRES GARCIA was towing on March 18, 2018.

_ . | Page 7 of 14

 

 
 

 

 

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_ 10161 Park Ran Drive, Suite 150° |

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Case 2:19-cv-02015-JCM-VCF Document 1-1 Filed 11/20/19 Page 29 of 49

59.

 

57, Defendant JOSE RAVELO RODRIGUE nevertheless entrusted the subject 12-foot open trailer to

58.

-_Timited to medical specials, pain and suffering, and bodily injuries.

- proved specifically at the time of trial.

60.
| 61.7

62.

The subject vehicle, a 2012 Ram 1500 Pickup Truck, and its component parts that were designed,

63.
dangerous than. expected by an ordinary consumer.

64.

subject vehicle and its component parts.

Defendant MAIKEL TORRES GARCIA, thereby breaching his duty to Plaintiff.

As a proximate result of the above breaches, Plaintiff suffered damages which include, but are not

AS @ direct and. proximate ‘result of Defendant JOSE RAVELO RODRIGUE’s negligent}
entrustment as alleged herein, Plaintiff has suffered and continues to suffer injuries entitling her

to monetary damages in an amount in excess of Fifteen Thousand Dollars ($15, 000.00), as to be

   

_BIFTH CAUSE OF | | TION - STRICT PRODUCTS ‘LIABILITY
. (FCA USLLO)
Plaintiff realleges paragraphs i through 5: 59 as. though fully set forth herein.

by Defendant FCA US LLC and was defective, i in that it was designed, tested, manufactured,

inspected, constructed, and maintained with characteristics that rendered it unsafe.

tested, manufactured, inspected, constructed, maintained, marketed, sold and distributed. by!
Defendant FCA US LLC were unreasonably dangerous and defective, i in that they were designed,
tested, manufactured, inspected, constructed, maintained, marketed, and distributed with!
characteristics that rendered them unsafe for the use for which they were intended in light of their
nature and intended function or for reasonably foreseeable uses.

The subject vehicle and its component parts failed fo perform, as expected and were more

The defects existed in the subject vehicle and its component parts at the time they left the control
of Defendant FCA US LLC and continued in the defective condition until the subject incident.
Defendant FCA US ULC designed, tested, manufactured, inspected, constructed, maintained,
distributed, and sold the subject vehicle and further failed to warn of the defective condition of the

Page 8 of 14

 
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LASSO INJURY LAW

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Case 2:19-cv-02015-JCM-VCF Document 1-1 Filed 11/20/19 Page 30 of 49

‘

65. Defendant FCA US LLC are strictly liable for the unreasonably dangerous and defective condition,
of the subject vehicle, Lo

66. Defendant FCA US LLC breached their express and implied warranties with respect to the subject!
vehicle and its component parts.

67. Upon information and belief, at the time of the aforesaid collision, the subject vehicle and its
component parts were in the same condition as when they left the control of Defendant FCA US
LLC who manufactured them and: were being used without any substantial chaiige or alteration i in

their condition.

=

| 68. Upon information and belief, the subject 2012 Ram Pickup 1500 Track was defective causing the
| attached trailer to detach from the 2012 Ram Pickup 1500 Truck. .
69. On March 18, 2018, Defendant MAIKEL TORRES GARCIA operated the subject 2012 Rami

og OA WB WON

Pickup 1500 Track while towing a trailer, the trailer. became loose and detached causing a severe
collision resulting in Plaintiff's injuries. |
70. As a direct and proximate result of Defendants’ defective product, negligence, conduct, breach,
Plaintiff suffered and.continues to suffer injuries entitling her to monetary damages in an amount
in excess of Fifteen Thousand Dollars ($15,000.00), as to be proved specifically at the time of
trial. | | ~ | |
| SIXTH CAUSE OF ACTION - STRICT PRODUCTS LIABILITY
| @RAW-TITE, ING)

Lama
ND.

n. Plaintiff re-alloges paragraphs 1 through 70 as though fally set forth herein.

72. The trailer ball, trailer ball mount and/or the hitch pin, were designed, tested, manufactured,
inspected, constructed, and maintained by Defendant DRAW-TITE, INC and were defective, in
that. they were designed, tested, manufactured, inspected, constructed, and maintained with

| characteristics that yendered them unsafe. .

73. The trailer ball, trailer ball mount, hitch pin and/or component parts that were designed, tested,
“manufactured, inspected, constructed, maintained, marketed, sold and distributed by Defendant
DRAW-TITE, INC. were unreasonably dangerous and defective, in that they were designed,
tested, manufactured, inspected, constructed, maintained, marketed, and distributed with

. Page 9 of 14 -

 

 
 

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{ 80. On March 18, 2018, Defendant MAIKEL TORRES GARCIA operated the subject vehicle while’

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Case 2:19-cv-02015-JCM-VCF Document 1-1 Filed 11/20/19 Page 31 of 49

“characteristics that rendered them unsafe for the use for which they were > intended i in light of their
“ natiire and intended function or for reasonably foreseeable uses.
14, The trailer ball, trailer ball mount, hitch pin and/or component parts failed to perform as expected
"and. were more dangerous than expected by an ordinary: consumer.
75. The defects existed in the trailer ball, trailer ball mount, hitch pin and/or component parts at the
time they left the control of Defendant DRAW-TITE, INC. and. continued in the defective
condition until the subject incident. Defendant DRAW-TITE, INC. designed, tested,
“manufactured, inspected, constructed, maintained, distributed, and sold the subject vehicle and
- further failed to warn of the defective condition of the subject vehicle and its component parts.
76. Defendant DRAW-TITE, INC. is strictly liable for the unreasonably dangerous and defective
‘condition of the subject vehicle. | :
77. Defendant DRAW-TITR, INC, breached its express and implied warranties with respect to the
trailer ball, trailer ball mount, hitch pin and/or component parts,
78. Upon. information and belief, at the time of the aforesaid collision, the trailer ball, trailer ball
vo “mount, hitch pin and/or component parts were.in the same condition as when they left ihe control
of Defendant DRAW-TITE, INC. who manufactured them and were being used without any

_ substantial change or alteration i in their condition, . ,
79. Upon information and belief, the trailer ball, trailer. ball mount, hitch pin and/or component parts

were defective causing the attached subject 12-foot open trailer to detach from the subject vehicle.

. towing the subject 12-foot open trailer, the trailer became loose and detached causing a severe
collision resulting i in Plaintiff $ injuries. |

$1. As a direct and proximate result of Defendants’ defective product or products, negligence,

conduct, breach, Plaintiff suffered and continues to suffer injuries entitling her to monetary

damages i in an amount in excess of Fifteen Thousand Dollars ($15,000.00), as to be proved

specifically at the time of trial.

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Page 10 of 14

 

 
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Case 2:19-cv-02015-JCM-VCF Document 1-1 Filed 11/20/19 Page 32 of 49

‘SEVENTH CAUSE OF ACTION-STRICT PRODUCTS LIABILITY
(ROE 1 - TRAILER MANUFACTURER)
82. Plaintiff re-alleges paragraphs | through 81 as though fully set forth herein.
| 83. The subject trailer was designed, tested, manufactured, inspected, constructed, and maintainéd by
Defendant ROE 1~Trailer Manufacturer and was defective, in that it was designed, tested,
. manufactured, inspected, and constructed, | ae
84, The subject. trailer and its component parts that were designed, tested, manufactured, inspected,
constructed, maintained, marketed, sold and distributed by Defendant ROE 1-Trailer:

Manufacturer were unreasonably dangerous and defective, in that they were designed, tested,

 

manofactured, inspected, constructed, maintained, marketed, and distributed with \ characteristics}
~ that rendered the trailer unsafe. for the use for which it was intended j in light of their nature and
| intended function or for ‘reasonably foreseeable uses,
85. The subj ect trailer and its component parts failed to perform as expected and were more dangerous
than expected by an ordinary consumer.
86. The defects existed i in the subj ect trailer and its component parts at the dime they left the control
. of Defendant ROB. 1-Trailer Manufacturer and continued in the defective condition until the
/ : subj ect | incident, Defendant ROE 1-Trailer Manufacturer designed, tested, manufactured,
inspected, constructed, maintained, distributed, anil sold the subject trailer and further failed to| _
wan of the defective condition of the subject trailer and its component parts,
87. Defendant ROE 1~Trailer Manufacturer are strictly liable for the unreasonably dangerous and
"defective condition of the subject trailer, .
88. Defendant ROE 1~Trailer Manufacturer breached its express and implied warranties with respect
to the subj ect trailer and its component patts. .
89. Upon information and belief, at the time of the aforesaid collision, the subject trailer-and its
| component parts were in the same condition as when they left the control of Defendant ROE 1-5
"Trailer Manufacturer who manufactured them and were being used without any substantial change

or alteration in their condition.

Page 11 of 14

 

 
Case 2:19-cv-02015-JCM-VCF Document 1-1 Filed 11/20/19 Page 33 of 49

 

 

 

| constructed, ‘maintained, marketed, sold and distributed by Defendants were unreasonably

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. dangerous and defective, in that they were designed, tested, manufactured, inspected, constructed,

1-4 90. On March 18, 2018, Defendant MAIKEL TORRES. GARCIA operated the subject 2012 Ram!
. 2 Pickup 1500 Truck while towing a trailer, the trailer became loose and detached causing @.severé
3 collision resulting i in Plaintiff's i injuries. . :
. 4 91. As a direct and proximate result of Defendant ROE 1~Trailer Manufacturer’ s defective product,
| 5 negligence, ‘conduct, breach, Plaintiff suffered and continues to suffer injuries entitling her to
& morttary damages in an amount in excess of Fifteen Thousand Dollars ($15,000.00), as to be
7 proved specifically at the time of trial.
8 EIGHTH CAUSE OF ACTION-STRICT PRODUCTS LIABILITY
2 | (ROE2-HITCH MANUFACTURE)
10 |) 92. Plaintiff re-alleges paragraphs 1 through 91 as though fully set forth herein.
| : S « i 93, The snbject hitch was designed, tested, manufactured, inspected, constructed, and maintained ‘by
e ge 3 12 Defendant ROE 2~Hitch Manufacture and was defective, in that it was designed, tested,
ea 3 8 manufactured, inspected, constructed, and maintained with characteristics that rendered it unsafe,
5 as é 4 94, The subject hitch and its component parts that were designed, tested, manufactured, inspected,
Bean
seig
S17 maintained, marketed, and distributed with characteristics that rendered them unsafe for the use
18 || for.which they were intended in light of their nature and intended function or for reasonably
19 {| . foreseeable uses. | | |
20. 95. ‘The subject hitch and its component parts failed to perform as expected and were more dangerous
21 : than expected by an ordinary consumer.
| 22, 96. The defects existed in the subject hitch and its component parts at the time they left the control of
23 | ‘Defendant ROE 2-Hitch Manufacture and continued in the defective condition antil the subject
. 24 incident, ‘Defendant ROE 2-Hitch Manufacture designed, tested, manufactured, inspected,
- 25 . constructed, maintained, distributed, and sold the subject hitch and further failed to warn of the
26, defective condition of the subject vehicle and its component parts.
27-1 97. Defendant ROE 2-Hitch: Manufacture is strictly liable for the unreasonably dangerous and
28

defective condition of the subject hitch,
. Page 12 of 14

 
 

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. Las. Vegas, Ni evada 89145
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.. 10161 Park Run Drive, Suite 150°

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| 100. On March 18, 2018, Defendant MAIKEL TORRES GARCIA operated the abject 2012 Ram

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Case 2:19-cv-02015-JCM-VCF Document 1-1 Filed 11/20/19 Page 34 of 49

*

98, Defendant ROE 2-Hitch Manufacture breached their express and implied warranties with respect

-- tothe subject hitch and its component parts. . . .

99, Upon information and belief, at the time of the aforesaid collision, the subject hitch and its|
component parts wore in the same condition as when they left the control of Defendant ROE 2-
Hitch Manufacture whd manufactured them and were being used without any substantial change

or alteration i in their condition.

Pickup 1500 Truck while towing a trailer, the trailer became loose and detached causing a severe’
collision resulting in Plaintiff's injuries. ; .
101. . Asa direct and proximate result of Defendants’ defective product, negligence, conduct, breach,
Plaintiff suffered and continues to suffer injuries entitling her to monetary damages i in an amount
: in exceis of Fifteen Thousand Dollars ($15,000.00), as to be proved specifically at the time of
ee |
NINTH CAUSE OF ACTION-NEGLIGENT FAILURE TO INSPECT AND WARN
| | (ROE 1, ROE2,FCA)
102. Plaintiff re-alleges paragraphs | through 101 as though fully set forth herein.
103. ‘Defendants ROE. 1, ROE 2, and FCA inspected the. aforementioned 2012 Ram Pickup 1300
Truck, ‘Trailer, and Hitch before March 18, 2018 and knew or should have known that the vehicle’
was defective i in design and/or manufacture and failed to war Plaintiff of the dangerous condition.
104. That the failure to inspect and warn Was a proximate cause of the injuries and damages hereto
alleged as was further a willful and conscious disregard of known unsafety, thereby entitle Plaintiff
_ toan award of general and punitive damages in an amount in excess of Fifteen Thousand Dollars
15,0 000.00).
CONCLUSION
Plaintiff has been required to retain the services of an attomey to prosecute this action.
| WHEREFORE, Plaintiff, expressly reserving the: ent to amend this Complaint, prays for
judgment against Defendants as follows:
OL General damages i in excess of $15,000;
- | Page 13 of 14

 
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Special damages in excess of $15,000;

Punitive damages in excess of $1 5, 000;

Attorney” $ fees and costs;

Interest at the statutory rate; and

Page 35 of 49

For such other and further relief as the Court deems s just and proper.
7 DATED this as day of May, 2019. 7
| __ LASSO INJURY LAW, LLC

 

 

Nevada Bar No. 8152
Evan K, Simonsen, Esq.
‘Nevada Bar No. 13762
16161 Park Run Drive
‘Las Vegas, NV 89145.
Attorneys Jor Plaintiff

Page 14 of 14

 
 

Case 2:19-cv-02015-JCM-VCF Document 1-1 Filed 11/20/19 Page 36 of 49

Exhibit D
Case 2:19-cv-02015-JCM-VCF Document 1-1 Filed 11/20/19 Page 37 of 49

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| Fhomas R. Slezak, Jr., Esq.
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_ || Email: tslezak@aains.com.
5|| Attorney for Defendant
§ MAIKEL TORRES GARCIA
7 DISTRICT COURT
2 CLARK COUNTY, NEVADA
oH .
TH ELVIRA MELENDEZ, an Individual, CASE NO, A-18-784890-C
10 — DEPT NO. 24
. Plaintiff, oe a,
Wy _ | STIPULATION AND ORDER FOR |
ly. L DISMISSAL OF DEFENDANT MAIKEL
12 | TORRES GARCIA WITH PREJUDICE

 

i] MAIKEL. TORRES GARCIA, an Individual;

‘| JOSE RAVELO RODRIGUE, an Individual:
RAFAEL CONSTRUCTION, INC.. a
Domestic Corporation; FCA US LL cya

{| Foreign Limited Liability Company; DRAW-
TITE, INC.,’a Foreign Profit Corporation; .-
ROE | ~ Trailer Manufacturer: ROE 2 ~ Hitch |
Manufacturer; DOES I-X, inclusive and’ ROE
CORPORATIONS. Iu %, inclusive,

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Defendants,

. STIPULATION AND ORDER FOR DISMISSAL OF
9 | ‘DEFENDANT MAIKEL TORRES GARCIA WITH PREJUDICE

20 IT IS HEREBY STIPULATED AND AGREED, by and between the parties hereto,

18.

 

2 through their respective counsel of record, that Plaintiff's Complaint against Defendant MAIKEL
. 2 T ORRES GARCIA shall ‘be. dismissed, with prejudice, with the parti¢s to bear. their own costs
| B. and attorneys’ fees; and

4 ar. IS FURTHER STIPULATED AND AGREED, that Defendant MAIKEL TORRES
. 25 GARCIA: may. obtain, if applicable, the. return of any jury demand fees previously submitted to the

- 26 Court by him. | a

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Case Number: A-18-78488C-C

 
 

 

 

 

Case 2:19-cv-02015-JCM-VCF Document 1-1 Filed 11/20/19 Page 38 of 49

 

 

 

 

 

 

 

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19 Attomey for Defendant
“ FCA US LLC

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a Dated hin day of Aaest, 201 .

_ 42.1 STEPHENSON & DICKINSON, P.C.
By ew oo

 

 

  

   

  

 

4 “The TRI AL DATE and SCHEDUL ING ORDER that have been issued shall x remain in
os éffect,
3 Stent and Agregd § to:
Sepragex a a
4 Dated this B “fay of Anes 2019. Dated this i". day of buest, 2019, |
8h LASSO INJURY LAW, LLC ALBRIGHT, STODDARD, WARNICK
, 6. & ALBRIGHT
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ss. G. Mark Albrig hi, =
9 Nevada Bar No. 8152 Nevada Bar No. 1394
Evan K. Simonsen, Esq. Jorge L. Alvarez, Esq.
10 Nevada Bar No. 13762 . Nevada Bar No, 14466.
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tH Las Vegas, NV 89145 _ Las Vegas, NV 89106
. **PAttomey for Plaintiff Attorney for Defendant
rm Elvira Melendez _ dose Ravelo Rodriguez
|| Dated this OX day of August, 2019. . Dated this - day. of August, 2019,
i‘ BOWMAN AND BROOKE LLP 4) BIAN & SANKIEWICZ
ALLEN, we yy
17 Cit ‘Busby, Esq. Robert A. Noweslan. Esq.
~* © Nevada Bar-No, 6581 “ Nevada Bar No. 2762
4g 2901 North Gentral Avenue, Suite 1600 | 528 South Eighth Street
4 Phoenix, Arizona 85012 , Las Vegas, Nevada go128°

Attorney for Defendant
FCA US LLC

- Dated this vote of aa t, 2019.

, & ASSOC! ATES

 
 
   

 

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28

Attorney for Horizon-Global Americas, Inc.

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Attorney for Defendant Maikel Torres Garcia

 
Case 2:19-cv-02015-JCM-VCF Document 1-1 Filed 11/20/19 Page 39 of 49

CASE NO. A-18-784890-C
DEPT NO. 24

a “ORDER,
“Upon stipulation of the parties, by and through their respective counsel of record:
iT 1S HEREBY ORDERED, ADIUDGED, AND DECREED that Plaintiff's Complaint
against Defendant MAIKEL TORRES GARCIA shall be dismissed with prelude, each party to
bear its own costs and attorneys” fees; and
ITIS FURTHER ORDERED, ADJUDGED, AND DECREED that any jury fees deposited
by Defendant MAIKEL TORRES GARCIA with this Court, be retiirned...

SRN em

The TRIAL DATE and SCHEDULING ORDER that have been issued shall remain m

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effect.

| DAT ED ni Md day of

   

 

to
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7T COURT JUDGE

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|| Submitted by:

 

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do Henderson, Nevada 89074
A Felephone: 702-893-3388
‘Facsimile: 702-893-3389
{Email tslezak@adins.com. _

 

- 47 || Attorney for Defendant

"| MAIKEL TORRES GARCIA.

Naot

 

 

 
Case 2:19-cv-02015-JCM-VCF Document 1-1 Filed 11/20/19 Page 40 of 49

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8 Attorneys for Defendant Rafael Construction, Inc.

DISTRICT COURT

10}}-: oo

ani CLARK COUNTY, NEVADA
“ii

12 .

_ | ELVIRA MELENDEZ, an Individual, Case No, A-18-784890-C

13 ih Dept. Nou: XXIV

. Plaintiff, . .

14 . - STIPULATION AND ORDER TO ©
OW . DISMISS RAFAEL CONSTRUCTION,
15 a a - | INC. WITHOUT PREJUDICE

|| MAIKEL TORRES GARCIA, an Individual,
16}| JOSE RAVELO RODRIGUE, an Individual;
“RAFAEL CONSTRUCTION, INC., a

17 1) Domestic-Corporation; FCA. us LLC, a
Foreign Limited-Liability Company; DRAW-
18} TITE, INC,, a Foreign Profit Corporation;.
ROE. I = ‘Trailer Manufacturer; ROE 2 - Hitch
19 |) Manufacturer; DOES II-X, inclusive, and ROE
1] CORPORATIONS IV-X, inclusive,

 

 

20
- Defendants,
3] .
22
23 IT IS HEREBY STIPULATED by the parties above named, by and through their respective _

24 |! counsel of record, that Defendant RAFAEL CONSTRUCTION, INC. be dismissed without prejudice.
| 25 Plaintiff?” s claims against Defendants MAIKEL TORRES GARCIA, FCA US LLC, J OSE RAVELO
-26|| RODRIQUE, and DRAW-TITE, INC. will remain.

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6357 Wy, SUNSET RB SUITE 255
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Case Number: A-18-784890-C
Case 2:19-cv-02015-JCM-VCF Document 1-1 Filed 11/20/19 Page 41 of 49

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- GARRUTH LLP

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Each party will bear their own costs and attorneys’ fees.

 

 

 

 

 

 

 

 

 

Dated: ___» 2019 Dated: 2019
LASSO INJURY LAW, LLC McCORMICK, BARSTOW, SHEPPARD,
WAYTE & CARRUTH LLP
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By: _ By: a
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Attorneys for Plaintiff Attorneys for Defendant Rafael
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Dated: _» 2019 Dated: , 2019
BOWMAN AND BROOKE LLP ROBERT L. CARDWELL & AS SOCIATES
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“ By: . By:
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_ Phoenix, Arizona 85012 Garcia
Attorneys jor Defendant FCA US LLC
Dated: _ | . 2019
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ROBERT Z A. NERSESIAN, ESO.
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Case 2:19-cv-02015-JCM-VCF Document 1-1 Filed 11/20/19 Page 42 of 49

 

 

 

 

 

 

 

 

 

1 _ Each party will bear their own costs and attorneys’ fees.
2 Dated: , 2019 Dated:__ , 2019
3 LASSO INJURY LAW, LLC McCORMICK, BARSTOW, SHEPPARD,
, , WAYTE & CARRUTH LLP
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8 Las Vegas, Nevada 89145 Las Vegas, Nevada 89113
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16 . Phoenix, Arizona 85012 - Garela
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17
Dated:. 2019
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22 528 South Bighth Street
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Case 2:19-cv-02015-JCM-VCF Document 1-1 Filed 11/20/19 Page 43 of 49

 

 

 

i Each party will bear their own costs and attorneys’ fees,
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3 LASSO INJURY LAW, LLC McCORMICK, BARSTOW, SHEPPARD,
. - WAYTE & CARRUTH LLP
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5 | By: a By: —_————~
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8 ‘Las Vegas, Nevada 89145 _ Las Vegas, Nevada 89112
Attorneys for Plaintiff Attorneys for Defendant Rafael
g , ' Construction, Ine.
10 _ Dated: » 2019 Dated: 2019
i BOWMAN AND BROOKE LLP ROBERT L. CARDWELL & ASSOCIATES
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13 ~ PAUL G. CEREGHINI, ESQ. THOMAS R. SLEZAK, JR. ESQ.
14 _ Nevada Bar No. 10000 _ Nevada Bar No, 5503
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4 6. Phoenix, Arizona 85012 Garcia
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17. 7
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18

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21 “ROBERT A, NERSESIAN, ESQ.

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oo ' Las Vegas, Nevada 89101

23 Attorneys for Defendant FCA US LIC

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Each party will bear their own costs and attorneys’ fees..

 

 

 

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AL LASSO, ESQ. ~ GORDON M. PARK, ESQ.
- Nevada Bar No. 8152 Nevada Bar No, 7124
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Attorneys jor Plaintiff Attorneys for Defendant Rafael
. Construction, Inc.
7 Dated:_ 2019 Dated: $5 /22- 3 2019
BOWMAN AND BROOKE LLP ROB a: ip ee & ASSOCIATES
‘ _ ; MW Mf, Us Uy tte"

 

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Garcia

 
 

Case 2:19-cv-02015-JCM-VCF Document 1-1 Filed 11/20/19 Page 45 of 49

 

 

 

 

 

1 ORDER
2 if IS HEREBY ORDERED, ADJUDGED AND DECREED that Defendant RAFAEL .
3 CONSTRUCTION, INC. be dismissed from the above-entitled action without prejudice. |
4 DATED this # | day 6£.... A ~
SI] .
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8 Submitted by: .
> DATED this 23. day of May 2019
€ MeCORMICK, BARSTOW, SHEPPARD,
10}, WAYTE & CARRUTH LLP
1
2 Ny anand
13 Gordon M. Patk
ial Nevada Bar No. 7124
Renee M. Maxfield
13 Nevada Bar No. 12814
, 8337 West Sunset Road, Suite 350
16 Las Vegas, Nevada 89113
17 Tel. (702) 949-1100
18 Attorneys for Defendant Rafael Construction, Inc. -
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Case 2:19-cv-02015-JCM-VCF Document 1-1 Filed 11/20/19 Page 46 of 49

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vegasiegal@aol. com

Attorneys for Defendants FCA US LLC

DISTRICT COURT
CLARK COUNTY, NEVADA

ELVIRA MELENDEZ, an Individual,
- Plaintiff,
yo
MAIKEL TORRES GARCIA, an Individual:

JOSE RAVELO RODRIGUEZ, an individual:
RAFAEL CONSTRUCTION, INC., a Domestic

Corporation; FCA US LLC, a Foreign Limited

Liability Company; DRAW-TITE, ING., a

“1; Foreign Profit Corporation: ROE 1 — Trailer

Manufacturer; ROE .2 — Hitch Manufacturer;
DOES H-X, inclusive, and ROE
CORPORATIONS IV-X, inclusive,

* Defendants.

 

 

“In this case, Plaintiff sued FCA US and others for personal injuries allegedly sustained
in a motor vehicle accident that occurred on March 18, 2078 in Clark County, Nevada. |

Plaintiff claims she was driving on Lake Mead Boulevard when she was struck by a trailer

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Steven D. Grierson

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Case No. A-18- 784890- Cc
Dept Na. 24 |
ORDER GRANTING DEFENDANT FCA
US LLC’S. MOTION FOR GOOD FAITH

SETTLEMENT DETERMINATION AND
ORDER BARRING FURTHER CLAIMS

Date of Hearing: Chambers

Time of Hearing: N/A

 

 

- Gase Number: A-18-784896-C -
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Case 2:19-cv-02015-JCM-VCF Document 1-1 Filed 11/20/19 Page 47 of 49

being towed behind defendant Maikel Torres Garcia’s 2012 Dodge Ram truck. The
investigating officer concluded the trailer became detached when the trailer hitch ball
separated from the trailer hitch ball mount. FCA US, however, did not manufacture or
otherwise provide the trailer ball hitch mount or the trailer ball with the Dodge Ram. No
cognizable defect in warnings, construction, or design telated to any part of the truck
manufactured by FCA US has been uncovered. FCA US bears no liability in this case.
Instead of pursuing further litigation, Plaintit and FCA US, accordingly, have reached a
settlement that meets the good faith standard. a .

| Taking into consideration all relevant facts and circumstances, the court finds the »

settlement is made in good faith. Therefore, Defendant FCA US's Motion for Good Faith

Settlement and. Order Barring Further Claims filed August 15, 2019, having been

examined by the Court; the Court noting that the motion was electronically served upon the
parties and that no Opposition has been filed thereto and that there is good cause therefor:
IT 1S HEREBY ORDERED ADJUDGED AND DECREED that FCA US's settlement,
as described | in its motion, isa good faith settlement made in accordance with NRS 17.245.
oT OS FURTHER ORDERED ADJUDGED AND DECREED that FCA US's
settlement (1) is the result of arm’s length negotiations, (2) reflects the parties’ relative fault
or liability, (3) does no harm to non-settling defendants, (4) FCA US's financial condition is
irrelevant, and (5) the settlement is not the product of collusion, fraud or tortious conduct.
IT IS FURTHER ORDERED ADJUDGED AND DECREED that FCA US's
settlement is just, fair and reasonable and, thus, the Motion for Good Faith Settlement
Determination i is hereby GRANTED pursuant to EDCR 2.20 and on the merits pursuant to
the In re eM Grand Hotel Fire Litigation factors. .

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Case 2:19-cv-02015-JCM-VCF Document 1-1 Filed 11/20/19 Page 48 of 49

IT IS FURTHER ORDERED ADJUDGED AND DECREED that any and ail past,

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present and future claims, against FCA us in this action for contribution, equitable

indemnity and/or implied indemnity are hereby barred,

Dated: GE 5) ea

 
  

 

 

metic OURT JUDGE

Respectfully Submitted by:

BOWMAN AND BROOKE LLP
Paul G. Cereghini

Nevada Bar No, 10000 -

Curtis J. Busby -

Nevada Bar No. 6581

Suite 1600, Phoenix Plaza
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in conjunction with

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- REGISTER OF ACTIONS
CASE No. A- 18-784890- C

' Case Type: Negligence - Auto
. Date Filed: 41/21/2048 .
Location: Department 24
Cross-Reference Case Number. AT84890

Elvira Melende, Platntiff(s) « vs, Malkeil Garcia, Defendantis)

 

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Pantry INFORMATION sans
‘Lead Attorneys |

' Defendant. -FCAUS LLC, - Paul G. Ceraghini
. Relained

 

_ Defendant Garcia, Maikel Torres '- Thomas R Slezak
: . . : Retained

702-B93-3388(W)

. Bruge 8. Dickinson
Rotained
7024747220(W)

Defendant Horizon Global Americas Ine

 

. Defendant : Rafael Construction ine, : : Gordon M-Park
FOBR4O+0005

George Mark Albright
Retained

Defendant.. Ravele Rodrigue, Jose
. TO23B477111 (WY

 

Plaintiff Melendez, Elvira Albert N, Lasso
Retained

702-625-877 7(W)

 

Lyenis & ORBERS OF THE Courr

HAS2019, Motion for Good Faith Sottioment (8:00 AM) (Judicial Officer Grockell, Jim)
Defendant Jose Ravejo Rodriguez's Motion for Good Faith Settienient

‘i Minutes
HMG2019 9:00 AM
~ No parties present; presence WAIVED. COURT NOTED appearances
were waived, COURT ORDERED, Defendant Jose Ravelo
Rodriguez's Motion for Geod Faith. Settlement GRANTED as
unopposed, The Orler was sighed. COURT FURTHER ORDERED,
Status Chack SET regarding Filing of the Order. 0146/20 9:00 AM
STATUS CHECK: FILING OF ORDER

Return io Regi ister of Actions —

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